It appears from the record and the bill of exceptions that the correctness of the judgment depends on evidence introduced upon the hearing and considered by the trial judge. The bill of exceptions does not contain or exhibit any evidence, or specify anything as a brief of evidence. In the circumstances, no error appears. City of Atlanta v. Jenkins, 137 Ga. 454
(2) (73 S.E. 402); Roane v. McIntosh, 149 Ga. 666
(102 S.E. 129); McElveen v. O'Kelley, 193 Ga. 824
(20 S.E.2d 69); Thompson v. Marietta Trust  Banking Co.,  21 Ga. App 463 (2) (94 S.E. 631).
Judgment affirmed. All the Justicesconcur.
        No. 14038. APRIL 23, 1942. REHEARING DENIED MAY 20, 1942.